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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ALPHA MODUS, CORP.,                             )
                                                )
                 Plaintiff,                     )    Civil Action No. 2:25-cv-00120-JRG-RSP
                                                )
        v.                                      )
                                                )
WALGREEN, CO.,                                  )    JURY TRIAL DEMAND
                                                )
                 Defendant.
                                                )

               AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Alpha Modus, Corp. (“Alpha Modus” or “Plaintiff”) files this Amended

Complaint for Patent Infringement and Demand for Jury Trial against Walgreen, Co. (“Walgreens”

or “Defendant”) for infringement of United States Patent Nos. 10,977,672 (“the ’672 Patent”), and

11,042,890 (“the ’890 Patent”) (collectively the “Patents-in-Suit”).

                                         THE PARTIES

       1.      Alpha Modus is a corporation organized and existing under the laws of Florida and

located at 20311 Chartwell Center Dr., Suite 1469, Cornelius, North Carolina 28031.

       2.      Upon information and belief, Defendant Walgreen, Co. is a company organized and

existing under the laws of Illinois, with a principal place of business located at 108 Wilmot Rd,

Deerfield, IL 60015 and may be served with process through its registered agent, Prentice Hall

Corporation System, at 211 E. 7th Street, Suite 620, Austin, Texas 78701.

                                JURISDICTION AND VENUE

       3.      This is an action for patent infringement arising under the patent laws of the United

States, Title 35, United States Code, including 35 U.S.C. §§ 154, 271, 281, and 283-285.
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        4.       This Court has exclusive subject matter jurisdiction over this case for patent

infringement under 28 U.S.C. §§ 1331 and 1338.

        5.       Walgreens is subject to the general and specific personal jurisdiction of this Court,

based upon its regularly conducted business in the State of Texas and in the Eastern District of

Texas (“District”), including conduct giving rise to this action.

        6.       Walgreens has conducted and does conduct business within the State of Texas.

        7.       Walgreens has committed, and continues to commit, acts of infringement in this

District, has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

        8.       This Court has personal jurisdiction over Walgreens at least because Walgreens has

made, used, offered to sell, sold, or put into service the accused products, systems, or services

within the District, thus committing acts of infringement within the District, and placed infringing

products, systems, or services into the stream of commerce knowing or understanding that such

products, systems, or services would be used in the United States, including in the Eastern District

of Texas. Walgreens, thus, has committed and continues to commit acts of infringement in this

District by, among other things, offering to sell, selling products and/or services, and/or using

services that infringe the Asserted Patents.

        9.       This Court likewise has personal jurisdiction over Walgreens at least because

Walgreens has committed acts within this District giving rise to this action and has established

minimum contacts with this forum such that the exercise of jurisdiction over Walgreens would not

offend traditional notions of fair play and substantial justice.

        10.      This Court has specific personal jurisdiction over Walgreens in this action pursuant

to due process and the Texas Long Arm Statute because the claims asserted herein arise out of or




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are related to Walgreens’s voluntary contacts with this forum, such voluntary contacts including

but not limited to: (i) at least a portion of the actions complained of herein; (ii) purposefully and

voluntarily placing one or more Accused Products into this District and into the stream of

commerce with the intention and expectation that they will be purchased and used by customers

in this District; or (iii) regularly doing or soliciting business, engaging in other persistent courses

of conduct, or deriving substantial revenue from goods and services, including the Accused

Products.

       11.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1400(b).

       12.      Walgreens is registered to do business in Texas, and upon information and belief,

Walgreens has transacted business in this District and has committed acts of direct and indirect

infringement in this District.

       13.      Walgreens has regular and established places of business in this District.

       14.      Walgreens offers its products and/or services, including those accused herein of

infringement, to customers and potential customers located in Texas and in this District.

       15.      Walgreens operates multiple stores in this District, including at 309 E. End Blvd. N,

Marshall, Texas 75670. This store is a regular and established place of business of Walgreens.

       16.      Walgreens has previously consented to jurisdiction and venue in this District, for

example, in Optinetix, Inc. v. Walgreen Co., Case No. 1:21-cv-00293-MJT (E.D. Tex. 2021).

                ALPHA MODUS’S INNOVATION IN RETAIL TECHNOLOGY

       17.      Alpha Modus Corp. specializes in the development of innovative retail

technologies.

       18.      At the core of Alpha Modus’s technology portfolio, including the Patents-in-Suit,

is the capability to analyze consumer behavior and product interaction in real-time. This advanced




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capability allows businesses to dynamically adjust their marketing strategies to meet the immediate

needs of consumers at pivotal purchasing decision moments.

       19.     Alpha Modus, in an effort to ensure transparency and accessibility, maintains a

comprehensive presentation of its patent portfolio on its official company website, available at

https://alphamodus.com/what-we-do/patent-portfolio/. The patent portfolio provided on Alpha

Modus’s website lists the Patents-in-Suit.

       20.     On January 11, 2024, Alpha Modus entered into a substantial intellectual property

licensing agreement with GZ6G Technologies Corp. See Alpha Modus Announces Intellectual

Property     License   Agreement      with    GZ6G       Technologies     Corp.,    available    at

https://alphamodus.com/2024/01/12/alpha-modus-announces-intellectual-property-license-

agreement-with-gz6g-technologies-corp/. This agreement authorized GZ6G Technologies Corp.

to utilize Alpha Modus’s patented technology in their operations, with a particular focus on the

Stadium and Event Management industry. Alpha Modus has entered into similar intellectual

property licensing agreements with Xalles Holdings Inc. and CashXAI Inc. See Alpha Modus

Announces Intellectual Property License Agreement with GZ6G Technologies Corp., available at

https://alphamodus.com/2024/01/11/alpha-modus-announces-intellectual-property-license-

agreement-with-gz6g-technologies-corp/ and Alpha Modus Announces Intellectual Property

License Agreement with Xalles Holdings and its Subsidiary CashXAI, available at

https://alphamodus.com/2024/04/16/alpha-modus-announces-intellectual-property-license-

agreement-with-xalles-holdings-and-its-subsidiary-cashxai/.

       21.     These agreements are indicative of Alpha Modus’s commitment to legally

disseminating its patented technology.




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                                       THE ’672 PATENT

       22.     Alpha Modus is the owner by assignment from the inventors, Michael Garel and

Jim Wang, of all right, title, and interest in and to United States Patent No. 10,977,672 (the “’672

Patent”) titled “Method And System For Real-Time Inventory Management, Marketing, And

Advertising In A Retail Store,” including the right to sue for all past, present, and future

infringement. A true and correct copy of the ’672 Patent is attached to this Complaint at Exhibit

A.

       23.     The ’672 Patent issued from U.S. Patent Application No. 16/985,001 filed on

August 4, 2020.

       24.     The ’672 Patent is a continuation of application No. 16/509,343, filed on Jul. 11,

2019, which in turn is a continuation of application No. 14/335,429, filed on Jul. 18, 2014.

       25.     The Patent Office issued the ’672 Patent on April 13, 2021, after a full and fair

examination.

       26.     The ’672 Patent is valid and enforceable.

       27.     The ’672 Patent introduces a novel system for real-time inventory management,

marketing, and advertising within a retail store setting.

       28.     The ’672 Patent addresses the emerging challenges in the retail sector, particularly

for brick-and-mortar stores, in the context of the increasing prevalence of online shopping and the

phenomenon of showrooming. The patent provides innovative solutions to enhance in-store

customer experiences and counter the competitive pressures from online retail

       29.     The inventors of the ’672 Patent recognized that there existed a significant gap in

the brick-and-mortar retail sector’s ability to provide real-time, personalized experiences to

customers, a feature commonly leveraged by online retailers. The patent offers a method and




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system that bridges this gap by utilizing technology to analyze consumer behavior and dynamically

adjust marketing and inventory strategies.

       30.     The ’672 Patent provides several advantages over the prior art, such as real-time

inventory management and the ability to generate targeted promotions and advertising based on

behavioral analytics. This approach aims to provide more relevant and engaging consumer

experiences, thereby influencing purchasing decisions and potentially increasing in-store sales.




       31.     The ’672 Patent describes and claims a specific system incorporating servers, image

recognition, and information monitoring devices to manage inventory, display relevant product

information and pricing, and generate promotions for customers based on real-time data analysis.

       32.     Claim 1 of the ’672 Patent reads:



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       1. A system for real-time inventory management, marketing, and advertising on a
       first visual display at a first visual display location in a retail store, comprising:
       (a) a server comprising:
                (i) one or more server processors, and,
                (ii) a server memory storing computer-executable instructions that, when
                     executed by the one or more server processors, cause the server to:
                         (A) identify, via image recognition, an inventory of one or more
                             retail products physically located at the first visual display
                             location in the retail store,
                         (B) display, on the first visual display, information about one or
                             more of the one or more retail products physically located at
                             the first visual display location,
                         (C) determine, in real-time, current pricing information regarding
                             the one or more retail products physically located at the first
                             visual display location,
                         (D) display, on the first visual display, the current pricing
                             information regarding the one or more retail products
                             physically located at the first visual display location,
                         (E) receive, using one or more information monitoring devices at
                             the first visual display location, real-time data of a customer,
                             and
                         (F) generate a promotion of one or more of the one or more retail
                             products physically located at the first visual display location
                             for the customer based on behavioral analytics.

                                        THE ’890 PATENT

       33.      Alpha Modus is the owner by assignment from the inventors, Michael Garel and

Jim Wang, of all right, title, and interest in and to United States Patent No. 11,042,890 (the “’890

Patent”) titled “Method And System For Customer Assistance In A Retail Store,” including the

right to sue for all past, present, and future infringement. A true and correct copy of the ’890 Patent

is attached to this Complaint at Exhibit B.

       34.     The ’890 Patent issued from U.S. Patent Application No. 16/837,711, filed on April

1, 2020.

       35.     The ’890 Patent is a continuation of application No. 16/509,343, filed on Jul. 11,

2019, which in turn is a continuation of application No. 14/335,429, filed on Jul. 18, 2014.




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       36.     The Patent Office issued the ’890 Patent on June 22, 2021, after a full and fair

examination.

       37.     The ’890 Patent is valid and enforceable.

       38.     The ’890 Patent relates to an improved method for enhancing customer assistance

in retail stores through the use of advanced information monitoring systems.

       39.     The inventors of the ’890 Patent recognized the need for brick-and-mortar retailers

to adapt to the changing consumer behavior influenced by digital technology. The patent offers a

solution by integrating technology to analyze customer interactions with products in real-time,

providing targeted assistance and enhancing the shopping experience.

       40.     The ’890 Patent provides several advancements over previous methods, such as

real-time analysis of customer interactions with products, including sentiment and object

identification information, and utilizing this data to manage inventory and offer personalized

responses.




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       41.    The ’890 Patent describes and claims a specific method involving the use of

information monitoring devices to gather and analyze data about a customer’s interaction with

products in a retail store. This method includes steps for gathering object identification and

sentiment information about the product, analyzing this information in real-time, and providing

appropriate responses to enhance the customer’s shopping experience.

       42.    Claim 1 of the ’890 Patent reads:

       1. A method comprising:
       (a) using one or more information monitoring devices to gather information about
           a person at a retail store, wherein
               (i) the person is in proximity to at least one of the one or more information
                    monitoring devices at the retail store,
               (ii) the one or more information monitoring devices are operably
                    connected to (A) a server, (B) one or more databases, or (C) both, and
               (iii) the step of gathering information using the one or more information
                    monitoring devices comprises
                        (A) gathering object identification information of a product that the
                            person is interested in purchasing, and
                        (B) gathering sentiment information of the person with respect to
                            the product;
       (b) analyzing the information in real time using (A) the server, (B) the one or
           more databases, or (C) both gathered by the information monitoring devices
           about the shopping activities of the plurality of persons to manage inventory
           of the products in the retail store at the one or more product points, wherein
           the analyzed information comprises the object identification information and
           the sentiment information; and
       (c) providing a response in real time based upon the analyzed information
           gathered by the information monitoring devices, wherein the response is
           selected from a group consisting of



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                (i) sending a communication to the person directing the person to a
                     location in the retail store at which the person can interact with the
                     product,
                (ii) engaging the person based upon the product, wherein the engaging is
                     performed using one more displays and content being displayed on the
                     one or more displays is selected based upon the product,
                (iii) sending a communication to a second person in the retail store who
                     can then in real time interact with the person regarding the product,
                (iv) providing marketing or advertising information to the person in real
                     time based upon the product, wherein the marketing or advertising
                     information is either product to the person by a display at the retail
                     store or by sending the marketing or advertising information to a
                     mobile device of the person, and
                (v) providing a coupon to the person in real time based upon the product,
                     wherein the coupon is either a printed out coupon or a digital coupon.

                                           WALGREENS

        43.     Walgreens is one of the largest pharmacy store chains in the United States.

        44.     Walgreens has implemented Cooler Screens products in its brick-and-mortar stores.

        45.     Cooler Screens, a company co-founded by Greg Wasson, former President and

 CEO of Walgreens, purports to offer innovative retail technology solutions.

        46.     In or around January 2020, Alpha Modus, as the owner of the Patents-in-Suit,

 engaged with Cooler Screens regarding the potential licensing of its intellectual property.

        47.     During these discussions, Alpha Modus informed Cooler Screens about the Patents-

 in-Suit and their potential applications in retail technology.

        48.     Despite being made aware of the Patents-in-Suit, Cooler Screens expressed

 disinterest in licensing the Patent-in-Suit or exploring further business opportunities with Alpha

 Modus.

        49.     Cooler Screens then began selling digital smart screens.




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         50.     Cooler Screens’ products practice the patented systems and methods of the Patents-

 in-Suit that were disclosed during the discussions between Alpha Modus and Cooler Screens in

 2020.

         51.     On information and belief, Walgreens partnered with Cooler Screens to implement

 the digital smart screens (the “Accused Products”).

         52.     Cool Screens has sued Walgreens in Illinois state court for $200 million for breach

 of contract related to Walgreens’s use of the Accused Products in its stores.

         53.     Walgreens’s implementation of these patented technologies has, on information

 and belief, significantly contributed to its retail efficiency and profitability.

         54.     Walgreens has been aware of Alpha Modus and the Patents-in-Suit at least as early

 as February of 2020, when Alpha Modus sent a notice letter to Walgreens. In July of 2023, Alpha

 Modus sent another notice letter to Walgreens regarding the Patents-in-Suit. Alpha Modus sent a

 follow up letter in August 2023.All of the letters went ignored.

         55.     The financial gains accrued by Walgreens through the use of Alpha Modus’s

 patented technology have been substantial, providing Walgreens with competitive advantages in

 the retail market.

         56.     The benefits reaped by Walgreens through the exploitation of Alpha Modus’s

 intellectual property have resulted in corresponding harm to Alpha Modus. This harm includes but

 is not limited to lost business opportunities, revenue, and diminution of the value of its patented

 technology.

         57.     This case is filed to address and seek redress for the unauthorized use of Alpha

 Modus’s patented technology by Walgreens in its retail stores, which has led to significant




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 commercial gains for Walgreens at the expense of Alpha Modus’s proprietary rights and

 investments.

                                              COUNT I

                     (DIRECT INFRINGEMENT OF THE ’672 PATENT)

        58.     Alpha Modus repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs.

        59.     Walgreens has made, used, offered for sale, and sold in the United States, products

 and systems that directly infringe the ’672 Patent, including the digital smart screens of the

 Accused Products.

        60.     The Accused Products embody a system for real-time inventory management,

 marketing, and advertising in a retail store setting, as claimed in the ’672 Patent.

        61.     The Accused Products utilize a server comprising one or more server processors,

 and a server memory storing computer-executable instructions that, when executed, perform

 functions covered by at least Claim 1 of the ’672 Patent.

        62.     The functions include identifying, via image recognition, an inventory of retail

 products physically located at a display location in the store, displaying information about the

 products, determining and displaying current pricing information, receiving real-time data of a

 customer using one or more information monitoring devices, and generating promotions for the

 customer based on behavioral analytics.

        63.     Walgreens has directly infringed the ’672 Patent in violation of 35 U.S.C. § 271(a)

 by making, using, offering for sale, selling, and/or operating the Accused Products that embody

 the patented inventions of at least Claim 1 of the ’672 Patent.




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         64.     The Accused Products satisfy each and every element of the asserted claim of the

 ’672 Patent either literally or under the doctrine of equivalents.

         65.     Walgreens’s infringing activities are and have been without authority or license

 under the ’672 Patent.

         66.     As a direct and proximate result of Walgreens’s infringement of the ’672 Patent,

 Alpha Modus has suffered and will continue to suffer damage.

         67.     Alpha Modus is informed and believes, and on that basis alleges, that Walgreens

 has been aware of the ’672 Patent and its infringement thereof due to the business relationship

 between Walgreens and Cooler Screens and through Alpha Modus’s notice letter to Walgreens in

 February of 2020. Despite this knowledge, Walgreens has continued to use the Accused Products

 in its retail operations.

         68.     Alpha Modus is informed and believes that Walgreens knew or was willfully blind

 to the patented technology of the ’672 Patent. Despite this knowledge or willful blindness,

 Walgreens has acted with blatant disregard for Alpha Modus’s patent rights with an objectively

 high likelihood of infringement.

         69.     Alpha Modus is informed and believes that Walgreens has made no efforts to avoid

 infringement of the ’672 Patent, despite its knowledge and understanding that its products and

 systems infringe the ’672 Patent.

         70.     Therefore, Walgreens’s infringement of the ’672 Patent is willful and egregious,

 warranting an enhancement of damages.

         71.     As such, Walgreens has acted and continues to act recklessly, willfully, wantonly,

 deliberately, and egregiously in infringement of the ’672 Patent, justifying an award to Alpha




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 Modus of increased damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred under

 35 U.S.C. § 285.

                                              COUNT II

                 (INDUCED PATENT INFRINGEMENT OF THE ’672 PATENT)

           72.    Alpha Modus repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

           73.    Walgreens is liable for indirect infringement under 35 U.S.C. § 271(b) of at least

 one claim of the ’672 Patent , at least as early as the filing of this Complaint, because it knowingly

 induces, aids, and directs others to use the Accused Products in a manner that infringes the ’672

 Patent.

           74.    As detailed in paragraphs 56-60, Alpha Modus engaged with Cooler Screens

 regarding the potential licensing of the Patents-in-Suit, including the ’672 Patent. During these

 discussions, Alpha Modus informed Cooler Screens about the Patents-in-Suit and their potential

 applications in retail technology.

           75.    Walgreens, through its partnership with Cooler Screens, has implemented and

 utilized the Accused Products in its stores, which practice the patented methods of the ’672 Patent

 as disclosed during the discussions between Alpha Modus and Cooler Screens.

           76.    Walgreens’s use of the Accused Products demonstrates specific intent to induce

 infringement of the ’672 Patent. Walgreens encourages, directs, aids, and abets the use and

 operation of the Accused Products in a manner that infringes the ’672 Patent.

           77.    Walgreens’s knowledge of the ’672 Patent and its business relationship with Cooler

 Screens, combined with its ongoing use of the Accused Products, demonstrates Walgreens’s

 knowledge and intent that the Accused Products be used in a manner that infringes the ’672 Patent.




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         78.     Walgreens’s actions and the manner in which the Accused Products are used in

 Walgreens’s stores, consistent with Walgreens’s promotions and instructions, demonstrate

 Walgreens’s specific intent to induce infringement of the ’672 Patent.

         79.     Alpha Modus is informed and believes, and on that basis alleges, that Walgreens

 knew or was willfully blind to the fact that it was inducing others, including its customers and

 staff, to infringe by practicing, either themselves or in conjunction with Walgreens, one or more

 claims of the ’672 Patent.

         80.     As a direct and proximate result of Walgreens’s induced infringement of the ’672

 Patent, Alpha Modus has suffered and will continue to suffer damage.

         81.     Alpha Modus is entitled to recover from Walgreens compensation in the form of

 monetary damages suffered as a result of Walgreens’s infringement in an amount that cannot be

 less than a reasonable royalty, together with interest and costs as fixed by this Court.

                                              COUNT III

                      (DIRECT INFRINGEMENT OF THE ’890 PATENT)

         82.     Alpha Modus repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs.

         83.     Walgreens has made, used, offered for sale, and sold in the United States, products

 and systems that directly infringe the ’890 Patent, including the digital smart screens and

 associated systems of the Accused Products.

         84.     The Accused Products embody a method for customer assistance in a retail store as

 claimed in the ’890 Patent.

         85.     The Accused Products include the use of one or more information monitoring

 devices to gather information about a person at a retail store, in line with claim 1 of the ’890 Patent.




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         86.     The Accused Products are operably connected to (A) a server, (B) one or more

 databases, or (C) both, and perform functions such as gathering object identification information

 of a product and gathering sentiment information of the person with respect to the product.

         87.     The Accused Products analyze the information in real time and provide a response

 based upon the analyzed information gathered by the information monitoring devices, including

 but not limited to directing a person to a product location, engaging the person based on the

 product, providing marketing or advertising information, and offering coupons.

         88.     Walgreens has directly infringed the ’890 Patent in violation of 35 U.S.C. § 271(a)

 by making, using, offering for sale, selling, and/or operating the Accused Products that embody

 the patented inventions of at least Claim 1 of the ’890 Patent.

         89.     The Accused Products satisfy each and every element of the asserted claim of the

 ’890 Patent either literally or under the doctrine of equivalents.

         90.     Walgreens’s infringing activities are and have been without authority or license

 under the ’890 Patent.

         91.     As a direct and proximate result of Walgreens’s infringement of the ’890 Patent,

 Alpha Modus has suffered and will continue to suffer damage.

         92.     Alpha Modus is informed and believes, and on that basis alleges, that Walgreens

 has been aware of the ’890 Patent and its infringement thereof due to the business relationship

 between Walgreens and Cooler Screens and through Alpha Modus’s notice letter to Walgreens in

 February of 2020. Despite this knowledge, Walgreens has continued to use the Accused Products

 in its retail operations.

         93.     Alpha Modus is informed and believes that Walgreens knew or was willfully blind

 to the patented technology of the ’890 Patent. Despite this knowledge or willful blindness,




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 Walgreens has acted with blatant disregard for Alpha Modus’s patent rights with an objectively

 high likelihood of infringement.

           94.    Alpha Modus is informed and believes that Walgreens has made no efforts to avoid

 infringement of the ’890 Patent, despite its knowledge and understanding that its products and

 systems infringe the ’890 Patent.

           95.    Therefore, Walgreens’s infringement of the ’890 Patent is willful and egregious,

 warranting an enhancement of damages.

           96.    As such, Walgreens has acted and continues to act recklessly, willfully, wantonly,

 deliberately, and egregiously in infringement of the ’890 Patent, justifying an award to Alpha

 Modus of increased damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred under

 35 U.S.C. § 285.

                                              COUNT IV

                 (INDUCED PATENT INFRINGEMENT OF THE ’890 PATENT)

           97.    Alpha Modus repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

           98.    Walgreens is liable for indirect infringement under 35 U.S.C. § 271(b) of at least

 one claim of the ’890 Patent , at least as early as the filing of this Complaint, because it knowingly

 induces, aids, and directs others to use the Accused Products in a manner that infringes the ’890

 Patent.

           99.    As detailed in paragraphs 56-60, Alpha Modus engaged with Cooler Screens

 regarding the potential licensing of the Patents-in-Suit, including the ’890 Patent. During these

 discussions, Alpha Modus informed Cooler Screens about the Patents-in-Suit and their potential

 applications in retail technology.




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        100.    Walgreens, through its partnership with Cooler Screens, has implemented and

 utilized the Accused Products in its stores, which practice the patented methods of the ’890 Patent

 as disclosed during the discussions between Alpha Modus and Cooler Screens.

        101.    Walgreens’s use of the Accused Products demonstrates specific intent to induce

 infringement of the ’890 Patent. Walgreens encourages, directs, aids, and abets the use and

 operation of the Accused Products in a manner that infringes the ’890 Patent.

        102.    Walgreens’s knowledge of the ’890 Patent and its business relationship with Cooler

 Screens, combined with its ongoing use of the Accused Products, demonstrates Walgreens’s

 knowledge and intent that the Accused Products be used in a manner that infringes the ’890 Patent.

        103.    Walgreens’s actions and the manner in which the Accused Products are used in

 Walgreens’s stores, consistent with Walgreens’s promotions and instructions, demonstrate

 Walgreens’s specific intent to induce infringement of the ’890 Patent.

        104.    Alpha Modus is informed and believes, and on that basis alleges, that Walgreens

 knew or was willfully blind to the fact that it was inducing others, including its customers and

 staff, to infringe by practicing, either themselves or in conjunction with Walgreens, one or more

 claims of the ’890 Patent.

        105.    As a direct and proximate result of Walgreens’s induced infringement of the ’890

 Patent, Alpha Modus has suffered and will continue to suffer damage.

        106.    Alpha Modus is entitled to recover from Walgreens compensation in the form of

 monetary damages suffered as a result of Walgreens’s infringement in an amount that cannot be

 less than a reasonable royalty, together with interest and costs as fixed by this Court.




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                                         JURY DEMAND

        Alpha Modus hereby demands a trial by jury of all issues so triable pursuant to Rule 38 of

 the Federal Rules of Civil Procedure.

                                    PRAYER FOR RELIEF

        WHEREFORE, Alpha Modus prays for relief against Walgreens as follows:

        (A)    An entry of judgment that Walgreens has infringed and is directly infringing one or

               more claims of each of the Patents-in-Suit;

        (B)    An entry of judgment that Walgreens has infringed and is indirectly infringing one

               or more claims of each of the Patents-in-Suit;

        (C)    An order pursuant to 35 U.S.C. § 283 permanently enjoining Walgreens, its

               officers, agents, servants, employees, attorneys, and those persons in active concert

               or participation with it, from further acts of infringement of the Patents-in-Suit;

        (D)    An entry of judgment that the Patents-in-Suit are valid and enforceable;

        (E)    An order awarding damages sufficient to compensate Alpha Modus for

               Walgreens’s infringement of the Patents-in-Suit, but in no event less than a

               reasonable royalty, together with interest and costs;

        (F)    A determination that Walgreens’s infringement has been willful, wanton,

               deliberate, and egregious;

        (G)    A determination that the damages against Walgreens be trebled or for any other

               basis within the Court’s discretion pursuant to 35 U.S.C. § 284;

        (H)    A finding that this case against Walgreens is “exceptional” and an award to Alpha

               Modus of its costs and reasonable attorneys’ fees, as provided by 35 U.S.C. § 285;




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       (I)    An accounting of all infringing sales and revenues of Walgreens, together with post

              judgment interest and prejudgment interest from the first date of infringement of

              the ’672 Patent and the ’890 Patent; and

       (J)    Such further and other relief as the Court may deem proper and just.


   Dated: April 23, 2025                           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I certify that on April 23, 2025, Plaintiff's Amended Complaint for Patent Infringement

 was filed via the Court's CM/ECF system which will send notification of such filing to all counsel

 of record.



                                              /s/ Christopher E. Hanba
                                              Christopher E. Hanba




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